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       Attorneys for Plaintiff


                            IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON

                                       Portland Division



SARA SUAREZ,                                    CaseNo.3:19-cv-00095

               Plaintiff,                       NOTICE OF WITHDRAW AS CO-COUNSEL

       V.                                                     (Pursuant to LR 83-11 (b))

Oregon Department of Corrections (ODOC)
Director Colette Peters, ODOC PREA
Coordinator Ms. Ericka Sage, ODOC Deputy
Director Brian Belleque, Tony Klein, ODOC
Past Chief Medical Officer Dr Steve Shelton,
ODOC Present Chief Medical Officer Dr.
Christopher DiGiulio, ODOC Assistant
Director of Correctional Services Heidi
Steward, ODOC Health Services Manager Joe
Bugher, Joe DeCamp, ODOC Chief Clinical
Officer Danielle Fuzi, ODOC Chief
Psychologist Dr. Don Dravis, ODOC
Behavioral Health Services Administrator
Dawnell Meyer, ODOC Assistant Director of
Operations Michael Gower, ODOC Past
Superintendent Rob Persson, John/Jane Doe
CCCF Medical Director, Jane Doe CCCF
Nursing Manager, John/Jane Doe BHS
Counselors, John/Jane Doe Nurses, John/Jane
Doe Security Staff, and State of Oregon,

               Defendants.


1 -NOTICE OF WITHDRAWAL
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       COMES NOW Leonard W. Williamson, Co-counsel for the plaintiff, hereby provides

notice to the Court pursuant to LR 83-1 l(b) of the withdrawal of Leonard W. Williamson as co-

counsel from the case as permitted for by rule. Co-counsel Michelle Burrows, a very

experienced civil rights litigator, will remain as lead counsel of record for Plaintiff and therefore

Plaintiff is not materially adversely affected by the withdrawal ofco-counsel pursuant to RPC

1.16(b)(l). Additionally, attorney Leonard Williamson is terminating the attorney client

relationship with the Plaintiff pursuant to RPC 1.16(6).

       Dated this 17th day of July, 2019.

                                                       Respectfully submitted,



                                                       /s/Leonard W. Williamson
                                                       Leonard W. Williamson OSB910020
                                                       Attorney for Plaintiff




2 - NOTICE OF WITHDRAWAL
